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                IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF FLORIDA
                           Tallahassee Division


AUGUST DEKKER, et al.,

                     Plaintiffs,
               v.                               Case No. 4:22-cv-00325-RH-MAF

JASON WEIDA, et al.,

                     Defendants.


                EXPERT REPORT OF DANIEL SHUMER, M.D.

        I, Daniel Shumer, M.D., hereby declare and state as follows:

        1.    I have been retained by counsel for Plaintiffs as an expert in connection

with the above-captioned litigation.

        2.    I have actual knowledge of the matters stated herein. If called to testify

in this matter, I would testify truthfully and based on my expert opinion.

   I.        BACKGROUND AND QUALIFICATIONS

        A.    Qualifications

        3.    I am a Pediatric Endocrinologist, Associate Professor of Pediatrics, and

the Clinical Director of the Child and Adolescent Gender Clinic at Mott Children’s

Hospital at Michigan Medicine. I am also the Medical Director of the



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Comprehensive Gender Services Program at Michigan Medicine, University of

Michigan.

      4.    I am Board Certified in Pediatrics and Pediatric Endocrinology by the

American Board of Pediatrics and licensed to practice medicine in the state of

Michigan.

      5.    I received my medical degree from Northwestern University in 2008.

After completing a Residency in Pediatrics at Vermont Children’s Hospital, I began

a Fellowship in Pediatric Endocrinology at Harvard University’s Boston Children's

Hospital. Concurrent with the Fellowship, I completed a Master of Public Health

from Harvard’s T.H. Chan School of Public Health. I completed both the Fellowship

and the MPH degree in 2015.

      6.    I have extensive experience in working with and treating children and

adolescents with endocrine conditions including differences in sex development

(DSD) (also referred to as intersex conditions), gender dysphoria, type 1 diabetes,

thyroid disorders, growth problems, and delayed or precocious puberty. I have been

treating patients with gender dysphoria since 2015.

      7.    A major focus of my clinical, teaching, and research work pertains to

the assessment and management of transgender adolescents.




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      8.     I have published extensively on the topic of gender identity in pediatrics

and the treatment of gender dysphoria, as well as reviewed the peer-reviewed

literature concerning medical treatments for gender dysphoria, the current standards

of care the treatment of gender dysphoria, and research articles on a variety of topics

with a focus on mental health in transgender adolescents.

      9.     I am involved in education of medical trainees. I am the Fellowship

Director in the Division of Pediatric Endocrinology, Education Lead for the Division

of Pediatric Endocrinology, and Course Director for a medical student elective in

Transgender Medicine. My additional academic duties as an Associate Professor

include teaching several lectures, including those entitled “Puberty,” “Transgender

Medicine,” and “Pediatric Growth and Development.”

      10.    As a Fellow at Harvard, I was mentored by Dr. Norman Spack. Dr.

Spack established the Gender Management Services Clinic (GeMS) at Boston

Children’s Hospital. While working and training at GeMS, I became a clinical expert

in the field of transgender medicine within Pediatric Endocrinology and began

conducting research on gender identity, gender dysphoria, and the evaluation and

management of gender dysphoria in children and adolescents.

      11.    Based on my work at GeMS, I was recruited to establish a similar

program assessing and treating gender diverse and transgender children and


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adolescents at the C.S. Mott Children’s Hospital in Ann Arbor. In October 2015, I

founded the hospital’s Child and Adolescent Gender Services Clinic.

      12.    The Child and Adolescent Gender Services Clinic has treated over 600

patients since its founding. The clinic provides comprehensive assessment, and when

appropriate, treatment with pubertal suppression and hormonal therapies, to patients

diagnosed with gender dysphoria. I have personally evaluated and treated over 400

patients with gender dysphoria. The majority of the patients receiving care range

between 10 and 21 years old. Most patients attending clinic live in Michigan or Ohio.

As the Clinical Director, I oversee the clinical practice, which currently includes 4

physicians (including 1 psychiatrist), 1 nurse practitioner, 2 social workers, 1

research coordinator, as well as nursing and administrative staff. I also actively

conduct research related to transgender medicine, gender dysphoria treatment, and

mental health concerns specific to transgender youth.

      13.    I also provide care in in the Differences/Disorders of Sex Development

(DSD) Clinic at Michigan Medicine at Mott Children’s Hospital. The DSD Clinic is

a multidisciplinary clinic focused on providing care to infants and children with

differences in the typical path of sex development, which may be influence by the

arrangement of sex chromosomes, the functioning of our gonads (i.e. testes, ovaries),

and our bodies’ response to hormones. The clinic is comprised of members from


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Pediatric Endocrinology, Genetics, Psychology, Urology, Gynecology, Surgery, and

Social Work. In this clinic I have assessed and treated over 100 patients with DSD.

In my role as Medical Director of the Comprehensive Gender Services Program

(CGSP), I lead Michigan Medicine’s broader efforts related to transgender services.

CGSP is comprised of providers from across the health system including pediatric

care, adult hormone provision, gynecologic services, adult surgical services,

speech/language therapy, mental health services, and primary care. I run monthly

meetings with representatives from these areas to help coordinate communication

between Departments. I coordinate strategic planning aimed to improve care within

the health system related to our transgender population. I also serve as the medical

representative for CGSP in discussions with health system administrators and

outside entities.

      14.    I have authored numerous peer-reviewed articles related to treatment of

transgender youth. I have also co-authored chapters of medical textbooks related to

medical management of transgender patients. I have been invited to speak at

numerous hospitals, clinics, and conferences on topics related to clinical care and

standards for treating transgender children and youth.




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      15.     The information provided regarding my professional background,

experiences, publications, and presentations is detailed in my curriculum vitae, a true

and correct copy of the most up-to-date version of which is attached as Exhibit A.

            B. Prior Testimony

      16.     In the past four years, I have been retained as an expert and provided

testimony at trial or by deposition in the following cases: Roe et al v. Utah High

School Activities Association et al (Third District Court in and for Salt Lake County,

UT); and Menefee v. City of Huntsville Bd. of Educ., No. 5:18-cv-01481 (N.D. Ala.).

I also provided expert witness testimony on behalf of a parent in a custody dispute

involving a transgender child in the following case: In the Interest of Younger, No.

DF-15-09887 (Dallas County, Texas).

            C. Compensation

      17.     I am being compensated at an hourly rate for the actual time that I

devote to this case, at the rate of $325 per hour for any review of records, preparation

of reports, declarations, and deposition and trial testimony. My compensation does

not depend on the outcome of this litigation, the opinions that I express, or the

testimony that I provide.

            D. Bases for Opinions




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       18.      This report sets forth my opinions in this case and the bases for my

opinions.

       19.      In preparing this report, I reviewed the text of Florida Medicaid –

Generally Accepted Professional Medical Standards Determination on the

Treatment of Gender Dysphoria, including the attachments, as well as the Complaint

in this case.

       20.      I have also reviewed the materials listed in the bibliography attached as

Exhibit B to this report, as well as the materials listed within my curriculum vitae,

which is attached as Exhibit A. The sources cited therein include authoritative,

scientific peer-reviewed publications. They include the documents specifically cited

as supportive examples in particular sections of this report. I may rely on these

materials as additional support for my opinions.

       21.      In addition, I have relied on my scientific education, training, and years

of clinical and research experience, and my knowledge of the scientific literature in

the pertinent fields.

       22.      The materials I have relied upon in preparing this report are the same

types of materials that experts in my field of study regularly rely upon when forming

opinions on these subjects.




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         23.     To the best of my knowledge, I have not met or spoken with the

Plaintiffs or their parents. My opinions are based solely on my extensive background

and experience treating transgender patients.

         24.     I may wish to supplement or revise these opinions or the bases for them

due to new scientific research or publications or in response to statements and issues

that may arise in my area of expertise.

   II.         EXPERT OPINIONS

         A.      MEDICAL AND SCIENTIFIC BACKGROUND ON SEX AND
                 GENDER IDENTITY

         25.     Sex is comprised of several components, including, among others,

internal reproductive organs, external genitalia, chromosomes, hormones, gender

identity, and secondary sex characteristics (IOM, 2011).

         26.     Gender identity is the medical term for a person’s internal, innate sense

of belonging to a particular sex. Everyone has a gender identity. Diversity of gender

identity and incongruence between assigned sex at birth and gender identity are

naturally occurring sources of human biological diversity (IOM, 2011). The term

transgender refers to individuals whose gender identity does not align with their sex

assigned at birth (Shumer, et al., 2013).

         27.     The terms gender role and gender identity refer to different things.

Gender roles are behaviors, attitudes, and personality traits that a particular society

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considers masculine or feminine, or associates with male or female social roles. For

example, the convention that girls wear pink and have longer hair, or that boys wear

blue and have shorter hair, are socially constructed gender roles from a particular

culture and historical period. By contrast, gender identity does not refer to socially

contingent behaviors, attitudes, or personality traits. It is an internal and largely

biological phenomenon, as reviewed below. Living consistent with one’s gender

identity is critical to the health and well-being of any person, including transgender

people (Hidalgo, et al., 2013; Shumer, et al., 2013; White Hughto, et al., 2015).

      28.    A person’s understanding of their gender identity may evolve over time

in the natural course of their life, however, attempts to “cure” transgender

individuals by forcing their gender identity into alignment with their birth sex

(sometimes descried as “conversion therapy”) has been found to be both harmful

and ineffective. In one study, transgender adults who recall previous attempts from

healthcare professionals to alter their gender identity reported an increase in lifetime

suicide attempts and higher rates of severe psychological distress in the present

(Turban, et al., 2020a). In another study, exposure to these types of attempts were

found to increase the likelihood that a transgender adolescent will attempt suicide

by 55% and more than double the risk for running away from home (Campbell, et

al., 2002). Those practices have been denounced as unethical by all major


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professional associations of medical and mental health professionals, such as the

American Medical Association, the American Academy of Pediatrics, the American

Psychiatric Association, and the American Psychological Association, among others

(Fish, et al., 2022).

       29.    Scientific   research   and    medical   literature   across   disciplines

demonstrates that gender identity, like other components of sex, has a strong

biological foundation. For example, there are numerous studies detailing the

similarities in the brain structures of transgender and non-transgender people with

the same gender identity (Luders, et al., 2009; Rametti, et al., 2011; Berglund, et al.,

2008; Savic, et al., 2011). In one such study, the volume of the bed nucleus of the

stria terminalis (a collection of cells in the central brain) in transgender women was

equivalent to the volume found in cisgender women (Chung, et al., 2002).

       30.    There are also studies highlighting the genetic components of gender

identity. Twin studies are a helpful way to understand genetic influences on human

diversity. Identical twins share the same DNA, while fraternal twins share roughly

50% of the same DNA, however both types of twins share the same environment.

Therefore, studies comparing differences between identical and fraternal twin pairs

can help isolate the genetic contribution of human characteristics. Twin studies have

shown that if an identical twin is transgender, the other twin is much more likely to


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be transgender compared to fraternal twins, a finding which points to genetic

underpinnings to gender identity development (Heylens, et al., 2012).

       31.       There is also ongoing research on how differences in fetal exposures to

hormones may influence gender identity. This influence can be examined by

studying a medical condition called congenital adrenal hyperplasia. Female fetuses

affected by congenital adrenal hyperplasia produce much higher levels of

testosterone compared to fetuses without the condition. While most females with

congenital adrenal hyperplasia have a female gender identity in adulthood, the

percentage of those with gender dysphoria is higher than that of the general

population. This suggests that fetal hormone exposures contribute to the later

development of gender identity (Dessens, et al, 2005).

       32.       There has also been research examining specific genetic differences

that appear associated with gender identity formation (Rosenthal, 2014). For

example, one study examining differences in the estrogen receptor gene among

transgender women and cisgender male controls found that the transgender

individuals were more likely to have a genetic difference in this gene (Henningsson,

et al., 2005).

       33.       The above studies are representative examples of scientific research

demonstrating biological influences on gender identity. Gender identity, like other


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complex human characteristics, is rooted in biology with important contributions

from neuroanatomic, genetic and hormonal variation (Roselli, 2018).

            B.      RATIONALE FOR MEDICAL TREATMENT OF GENDER
                    DYSPHORIA IN ADOLECENTS AND ADULTS

      34.        All medical interventions, including treatment for gender dysphoria,

require rigorous study and evidence base.

      35.        There are several studies demonstrating positive results of gender-

affirming care in adolescents and adults (de Vries, et al., 2014; de Vries, et al., 2011;

Green, et al., 2022; Smith, et al., 2005; Turban, et al., 2022). These studies

consistently demonstrate improvement of gender dysphoria with associated

improvement of psychological functioning. A 2014 long-term follow-up study

following patients from early adolescence through young adulthood showed that

gender-affirming treatment allowed transgender adolescents to make age-

appropriate developmental transitions while living as their affirmed gender with

positive outcomes as young adults (de Vries, et al., 2014). More recently, Green et

al. (2022) describe that gender-affirming hormone therapy is correlated with reduced

rates of depression and suicidality among transgender adolescents. Turban et al.

(2022) documented that access to gender-affirming hormone therapy in adolescence

is associated with favorable mental health outcomes in adulthood, when compared

to individuals who desired but could not access hormonal interventions.

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            C.     ASSESSMENT OF GENDER DYSPHORIA IN CHILDREN,
                   ADOLESCENTS, AND ADULTS

      36.        Due to the incongruence between their assigned sex and gender

identity, transgender people experience varying degrees of gender dysphoria, a

serious medical condition defined in both the American Psychiatric Association’s

Diagnostic and Statistical Manual of Mental Disorders (DSM-5 TR) (APA, 2022).

Gender Dysphoria is defined as an incongruence between a patient’s assigned sex

and their gender identity present for at least six months, which causes clinically

important distress in the person’s life. This distress is further defined as impairment

in social, occupational, or other important areas of functioning (APA, 2022).

Additional features may include a strong desire to be rid of one’s primary or

secondary sex characteristics, a strong desire to be treated as a member of the

identified gender, or a strong conviction that one has the typical feelings of identified

gender (APA, 2022).

      37.        The World Health Organization’s International Classification of

Diseases (ICD), the diagnostic and coding compendia for mental health and medical

professionals, codifies Gender Incongruence as the diagnosis resulting from the

incongruity between one’s gender identity and sex assigned at birth. The Gender

Incongruence diagnosis is part of a new “Conditions related to sexual health” chapter

in the ICD-11, which is the most recent iteration of the ICD published in 2019

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(Costa, et al., 2015; WHO, 2019). This reflects evidence that transgender and gender

diverse identities are not conditions of mental ill health and classifying them as such

can cause enormous stigma.

      38.    In children and adolescents, the diagnosis of gender dysphoria is made

by a health provider including but not limited to a psychiatrist, psychologist, social

worker, or therapist with expertise in gender identity concerns. It is recommended

that children and adolescents diagnosed with gender dysphoria engage with a

multidisciplinary team of mental health and medical professionals to formulate a

treatment plan, in coordination with the parent(s) or guardian(s), with a goal of

reduction of gender dysphoria. The Standards of Care for the Health of Transgender

and Gender Diverse People, Version 8 (“SOC 8”), published by the World

Professional Association for Transgender Health (WPATH), provides guidance to

providers on how to provide comprehensive assessment and care to this patient

population based on medical evidence. These standards recommend involving

relevant disciplines, including mental health and medical professionals, to reach a

decision with families about whether medical interventions are appropriate and

remain indicated through the course of treatment. Multidisciplinary clinics, such as

the Child and Adolescent Gender Clinic where I practice, have structured their

programs around this model, as guided by the WPATH SOC.


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      39.        In transgender adults, the WPATH SOC recommends that a health care

provider assessing and treating a transgender patient should ensure diagnostic

criteria are met prior to initiating gender-affirming treatments and ensure that any

health conditions that could negatively impact the outcome of treatment are assessed,

with risks and benefits discussed, before a decision is made regarding treatment. The

capacity of the adult. to consent for the specific treatment should be confirmed prior

to initiation (Coleman, et al., 2022).

            D.      EVIDENCE-BASED CLINICAL PRACTICE GUIDELINES
                    FOR THE TREATMENT OF GENDER DYSPHORIA IN
                    CHILDREN, ADOLESCENTS AND ADULTS

      40.        The goal of any intervention for gender dysphoria is to reduce

dysphoria, improve functioning, and prevent the harms caused by untreated gender

dysphoria.

      41.        Gender dysphoria is highly treatable and can be effectively managed.

If left untreated, however, it can result in severe anxiety and depression, eating

disorders, substance abuse, self-harm, and suicidality (Reisner, et al., 2015).

      42.        Based on longitudinal data, and my own clinical experience, when

transgender adolescents are provided with appropriate medical treatment and have

parental and social support, they are more likely to thrive and grow into healthy

adults (de Vries, et al., 2014).


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      43.   In children and adolescents, a comprehensive biopsychosocial

assessment is typically the first step in evaluation, performed by a mental health

provider with experience in gender identity. The goals of this assessment are to

develop a deep understanding of the young person’s experience with gender identity,

to consider whether the child or adolescent meets criteria for a diagnosis of gender

dysphoria, and to understand what options may be desired and helpful for the

adolescent (Coleman, et al., 2022; Coleman, et al., 2012; Hembree, et al., 2017;

Hembree, et al., 2009).

      44.   For children younger than pubertal age, the only recommended

treatments do not involve medications. For adolescents, additional treatments

involving medications may be appropriate.

      45.   For pre-pubertal children with gender dysphoria, treatments may

include supportive therapy, encouraging support from loved ones, and assisting the

young person through elements of a social transition. Social transition may include

adopting a new name and pronouns, appearance, and clothing, and correcting

identity documents.

      46.   Options for treatment after the onset of puberty include the use of

gonadotropin-releasing hormone agonists (“GnRHa”) for purposes of preventing

progression of pubertal development, and hormonal interventions such as


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testosterone and estrogen administration. These treatment options are based on

robust research and clinical experience, which consistently demonstrate safety and

efficacy.

      47.    Clinical practice guidelines have been published by several long-

standing and well-respected medical bodies: the World Professional Association for

Transgender Health (WPATH) and the Endocrine Society (Coleman, et al., 2022;

Coleman, et al., 2012; Hembree, et al., 2017; Hembree, et al., 2009), as well as the

UCSF Center for Excellence in Transgender Health (Deutsch (ed.), 2016). The

clinical practice guidelines and standards of care published by these organizations

provide a framework for treatment of gender dysphoria in adolescents.

      48.    WPATH has been recognized as the standard-setting organization for

the treatment of gender dysphoria since its founding in 1979. The most recent

WPATH Standards of Care (SOC 8) were published in 2022 and represent expert

consensus for clinicians related to medical care for transgender people, based on the

best available science and clinical experience (Coleman, et al., 2022).

      49.    The purpose of the WPATH Standards of Care is to assist health

providers in delivering necessary medical care to transgender people, to maximize

their patients’ overall health, psychological well-being, and self-fulfillment. The




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WPATH Standards of Care serve as one of the foundations for the care provided in

my own clinic.

      50.   The WPATH SOC 8 is based on rigorous review of the best available

science and expert professional consensus in transgender health. International

professionals were selected to serve on the SOC 8 writing committee.

Recommendation statements were developed based on data derived from

independent systemic literature reviews. Grading of evidence was performed by an

Evidence Review Team which determined the strength of evidence presented in each

individual study relied upon in the document (Coleman, et al., 2022).

      51.   The previous version (SOC 7), published in 2012 (Coleman, et al.,

2012), was the most recent version at the time of the adoption of Florida

Administrative Code, 59G-1.050(7) (the “Challenged Exclusion”). SOC 7 was

similar to SOC 8 in the basic tenets of management for transgender adolescents and

adults; however, SOC 8 further reinforces these guidelines with data published since

the release of SOC 7.

      52.   In addition, the Endocrine Society is a 100-year-old global membership

organization representing professionals in the field of adult and pediatric

endocrinology. In 2017, the Endocrine Society published clinical practice guidelines

on treatment recommendations for the medical management of gender dysphoria, in


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collaboration with Pediatric Endocrine Society, the European Societies for

Endocrinology and Pediatric Endocrinology, and WPATH, among others (Hembree,

et al, 2017).

       53.      The Endocrine Society Clinical Guidelines were developed through

rigorous scientific processes that “followed the approach recommended by the

Grading of Recommendations, Assessment, Development, and Evaluation group, an

international group with expertise in the development and implementation of

evidence-based guidelines.” The guidelines affirm that patients with gender

dysphoria often must be treated with “a safe and effective hormone regimen that will

(1) suppress endogenous sex hormone secretion determined by the person’s

genetic/gonadal sex and (2) maintain sex hormone levels within the normal range

for the person’s affirmed gender.” (Hembree, et al., 2017).

       54.      The AAP is the preeminent professional body of pediatricians in the

United States, with over 67,000 members. The AAP endorses a commitment to the

optimal physical, mental, and social health and well-being for youth. The 2018

policy statement titled Ensuring Comprehensive Care and Support for Transgender

and Gender-Diverse Children and Adolescents further lends support to the treatment

options outlined in the WPATH Standards of Care and the Endocrine Society’s

Clinical Practice Guidelines (Rafferty, et al., 2018).


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      55.        Aside from the AAP, the tenets set forth by the Endocrine Society

Clinical Practice Guidelines and the WPATH Standards of Care are supported by

the major professional medical and mental health associations in the United States,

including the American Medical Association, the American Psychological

Association, the American Psychiatric Association, and American Academy of

Family Physicians, among others (e.g., AMA, 2019; American Psychological

Association, 2015; Drescher, et al., 2018 (American Psychiatric Association);

Hembree, et al., 2017 (Endocrine Society); Klein, et al., 2018 (AAFP); National

Academies, 2020; WPATH, 2016).

      56.        As a board-certified pediatric endocrinologist, I follow the Endocrine

Society Clinical Practice Guidelines and the WPATH Standards of Care when

treating my patients.

            E.      TREATMENT PROTOCOLS FOR GENDER DYSPHORIA

      57.        Undergoing treatment to alleviate gender dysphoria is commonly

referred to as a transition. The transition process in adolescence typically includes

(i) social transition and/or (ii) medications, including puberty-delaying medication

and hormone therapy. The steps that make up a person’s transition and their

sequence will depend on that individual’s medical and mental health needs and

decisions made between the patient, family, and multidisciplinary care team.


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         58.   There are no medications considered for transition until after the onset

of puberty. Puberty is a process of maturation heralded by production of sex

hormones—testosterone and estrogen—leading to the development of secondary sex

characteristics. Secondary sex characteristics include testosterone-induced effects

such as deepening of the voice, muscular changes, facial and body hair, and

estrogen-induced effects such as breast development. There is diversity in the age of

pubertal onset; however, most adolescents begin puberty between ages 10 and 12

years.

         59.   Gender exploration in childhood is expected and healthy. The majority

of prepubertal children exploring their gender do not develop gender dysphoria and

are not expected to become transgender adolescents or adults. In contrast, data and

personal experience shows that children whose gender dysphoria persists into

adolescence are highly likely to be transgender (van der Loos, et al., 2022). Some

individuals in this field misinterpret older studies showing that a large percentage of

children diagnosed with gender identity disorder did not grow up to be transgender

(e.g., GAPMS Memo at 14; Attachment D (Cantor) to GAPMS Memo at 6-9). Those

studies include children who would not fulfill the current diagnostic criteria for

gender dysphoria and, in any case, have no relevance to this case because no

medications are prescribed to prepubertal children.


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       60.    Puberty-delaying medication and hormone-replacement therapy—both

individually and in combination—can significantly improve a transgender young

person’s mental health. These treatments allow for a physical appearance more

closely aligning with gender identity and decreases the likelihood that a transgender

young person will be incorrectly identified with their assigned sex, further

alleviating their gender dysphoria, and bolstering the effectiveness of their social

transition.

       61.    At the onset of puberty, adolescents begin to experience the onset of

secondary sex characteristics. Adolescents with differences in gender identity may

have intensification of gender dysphoria during this time due to development of

secondary sex characteristics incongruent with gender identity. Persistence or

intensification of gender dysphoria as puberty begins is used as a helpful diagnostic

tool as it becomes more predictive of gender identity persistence into adolescence

and adulthood (de Vries, et al., 2012).

                    i.   Treatment with puberty-delaying medications

       62.    Adolescents diagnosed with gender dysphoria who have entered

puberty (Tanner Stage 2) may be prescribed puberty-delaying medications (GnRHa)

to prevent the distress of developing permanent, unwanted physical characteristics

that do not align with the adolescent’s gender identity. Tanner Stage 2 refers to the


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stage in puberty whereby the physical effects of testosterone or estrogen production

are first apparent on physical exam. Specifically, this is heralded by the onset of

breast budding in an individual assigned female at birth, or the onset of testicular

enlargement in an individual assigned male at birth. For individuals assigned male

at birth, Tanner Stage 2 typically occurs between age 9-14, and for those assigned

female at birth between age 8-12.

      63.    The treatment works by pausing endogenous puberty at whatever stage

it is at when the treatment begins, limiting the influence of a person’s endogenous

hormones on their body. For example, a transgender girl will experience no

progression of physical changes caused by testosterone, including facial and body

hair, an Adam’s apple, or masculinized facial structures. And, in a transgender boy,

those medications would prevent progression of breast development, menstruation,

and widening of the hips (Coleman, et al., 2022; de Vries, et al., 2012; Deutsch (ed.),

2016; Hembree, et al., 2017; Rosenthal, 2014).

      64.    GnRHa have been used extensively in pediatrics for several decades.

Prior to their use for gender dysphoria, they were used (and still are used) to treat

precocious puberty. GnRHa work by suppressing the signal hormones from the

pituitary gland (luteinizing hormone [LH] and follicle stimulating hormone [FSH])




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that stimulate the testes or ovaries to produce sex hormones. Upon discontinuation

of GnRHa, LH and FSH production resume and puberty will also resume.

      65.    GnRHa have no long-term implications on fertility. In transgender

youth, it is most typical to use GnRHa from the onset of puberty (Tanner Stage 2)

until mid-adolescence. While treating, the decision to continue treatment will be

continually evaluated. Should pubertal suppression no longer be desired, GnRHa

would be discontinued, and puberty would re-commence.

      66.    Prior to initiation of GnRHa, providers counsel patients and their

families extensively on potential benefits and risks. Designed benefit of treatment is

to reduce the risk of worsening gender dysphoria and mental health deterioration.

More specifically, use of GnRHa in transmasculine adolescents allows for decreased

chest development, reducing the need for breast binding and surgical intervention in

adulthood. For transfeminine adolescents GnRHa limits facial and body hair growth,

voice deepening, and masculine bone structure development, which greatly reduce

distress both at the time of treatment and later in life and reduce the need for later

interventions such as voice therapy, hair removal, and facial feminization surgery.

      67.    The goal in using GnRHa is to minimize the patient’s dysphoria related

to progression of puberty and allow for later initiation of puberty consistent with

gender identity. When a patient presents to care, the provider assesses the patient’s


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pubertal stage, pubertal history, and individual needs. A patient may present prior to

the onset of puberty (Tanner Stage 1), at the onset of puberty (Tanner Stage 2), or

further along in puberty (Tanner Stages 3-5). The pubertal stage and individual needs

of the patient then direct conversations regarding care options. A patient at Tanner

Stage 2 may benefit from GnRHa, while an older patient who has completed puberty

may benefit from pubertal initiation with hormones, as described below. I have

observed that providing individualized care based on individual patient

characteristics, using the WPATH Standards of Care as the foundation of this care,

provides significant benefit to patients, minimizes gender dysphoria, and can

eliminate the need for surgical treatments in adulthood.

      68.    As an experienced pediatric endocrinologist, I treat patients with these

same medications for both precocious puberty and gender dysphoria and in both

cases the side effects are comparable and easily managed. And for both patient

populations the risks are greatly outweighed by the benefits of treatment.

      69.    In addition, I regularly prescribe GnRHa for patients who do not meet

criteria for precocious puberty but who require pubertal suppression. Examples

include patients with disabilities who are unable to tolerate puberty at the typical age

due to hygienic concerns; minors with growth hormone deficiency who despite

growth hormone treatment will have a very short adult height; and young women


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with endometriosis. As with gender dysphoria, the prescription of GnRHa to treat

these conditions is “off-label,” yet it is widely accepted within the field of

endocrinology and not considered experimental. The same holds true for other

common medications used in pediatric endocrinology: using metformin for weight

loss; growth hormone for short stature not caused by growth hormone deficiency;

countless medications used to control type 2 diabetes which have an adult indication

but whose manufacturers have not applied for a pediatric indication.

                    ii.   Treatment with hormone therapy

      70.    In mid-adolescence, the patient, their parents, and the patient’s care

team may discuss the possibility of beginning the use of testosterone or estrogen. In

my practice we discuss these treatments for a patient who is currently receiving

GnRHa, or patients who have already gone through their endogenous puberty and

either did not have access to, desire, or elect for GnRHa treatment. In adult patients,

use of GnRHa is uncommon, but rather medical decisions are focused more on

testosterone or estrogen therapy.

      71.    These hormone therapies are used to treat gender dysphoria in

adolescents and adults to facilitate development of sex-specific physical changes

congruent with their gender identity. For example, a transgender man prescribed

testosterone will develop a lower voice as well as facial and body hair, while a


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transgender woman prescribed estrogen will experience breast growth, female fat

distribution, and softer skin.

      72.    Under the Endocrine Society Clinical Guidelines and SOC 8, hormone

therapy is an appropriate treatment for transgender adolescents with gender

dysphoria when the experience of dysphoria is marked and sustained over time, the

adolescent demonstrates emotional and cognitive maturity required to provide and

informed consent/assent for treatment, other mental health concerns (if any) that may

interfere with diagnostic clarity and capacity to consent have been addressed, the

adolescent has discussed reproductive options with their provider. SOC 8 also

highlights the importance of involving parent(s)/guardian(s) in the assessment and

treatment process for minors (Coleman, et al., 2022; Hembree, et al., 2017).

      73.    Under the Endocrine Society Clinical Guidelines and SOC 8, hormone

therapy is an appropriate treatment for transgender adults with gender dysphoria

when the experience of dysphoria is marked and sustained, other possible causes of

apparent gender dysphoria are excluded, any mental and physical health conditions

that could negatively impact the outcome of treatment are assessed, the adult has

capacity to understand risks and benefits of treatment and provide consent for

treatment (Coleman, et al., 2022; Hembree, et al., 2017).




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      74.        Similar to GnRHa, the risks and benefits of hormone treatment are

discussed with patients (and families, if the patient is a minor) prior to initiation of

testosterone or estrogen. When treated with testosterone or estrogen, the goal is to

maintain the patient’s hormone levels within the normal range for their gender.

Laboratory testing is recommended to ensure proper dosing and hormonal levels. If

starting hormonal care after completing puberty, discussion of egg or sperm

preservation prior to starting treatment is recommended.

      75.        Regardless of the treatment plan prescribed, at every encounter with the

care team there is a re-evaluation of the patient’s gender identity and their transition

goals. Should a patient desire to discontinue a medical intervention, the intervention

is discontinued. Discontinuation of GnRHa will result in commencement of puberty.

Findings from studies in which participants have undergone comprehensive

evaluation prior to gender care show low levels of regret (de Vries, et al., 2011; van

der Loos, et al., 2022; Wiepjes, et al., 2018).

            F.      SAFETY AND EFFICACY OF PUBERTY-DELAYING
                    MEDICATIONS AND HORMONE THERAPY TO TREAT
                    GENDER DYSPHORIA

      76.        GnRHa, prescribed for delaying puberty in transgender adolescents, is

both a safe and effective treatment. Patients under consideration for treatment are

working within a multidisciplinary team of providers all dedicated to making


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informed and appropriate decisions with the patient and family in the best interest of

the adolescent. Physicians providing this intervention are trained and qualified in

gender identity concerns and childhood growth and development and are

participating in this care out of a desire to improve the health and wellness of

transgender youth and prevent negative outcomes such as depression and suicide.

      77.    GnRHa, including injectable leuprolide and implantable histrelin, have

rare side effects which are discussed with patients and families prior to initiation.

Mild negative effects may include pain at the injection or implantation site, sterile

abscess formation, weight gain, hot flashes, abdominal pain, and headaches. These

effects can be seen in patients receiving GnRHa for gender dysphoria, or for other

indications such as precocious puberty. I counsel patients on maintaining a healthy

diet and promote physical activity, and regularly document height and weight during

treatment. Nutritional support can be provided for patients at risk for obesity.

      78.    Risk of lower bone mineral density in prolonged use of GnRHa can be

mitigated by screening for, and treating, vitamin D deficiency when present, and by

limiting the number of years of treatment based on a patient’s clinical course

(Rosenthal, 2014). An exceptionally rare but significant side effect, increased

intracranial pressure, has been reported in six patients (five treated for precocious

puberty, one for transgender care), prompting an FDA warning in July 2022 (AAP,


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2022). These cases represent an extremely small fraction of the thousands of patients

who have been treated with GnRHa over decades. Symptoms of this side effect

(headache, vomiting, visual changes) are reviewed with families and if they occur

the medication is discontinued.

      79.    GnRHa do not have long-term implications on fertility. This is clearly

proven from decades of use in the treatment of precocious puberty (Guaraldi, et al.,

2016; Martinerie, et al, 2021). Progression through natal puberty is required for

maturation of egg or sperm. If attempting fertility after previous treatment with

GnRHa followed by hormone therapy is desired, an adult patient would withdraw

from hormones and allow pubertal progression. Assistive reproduction could be

employed if needed (T’Sjoen, et al., 2013).

      80.    Patients who initiate hormones after completing puberty are offered

gamete preservation prior to hormonal initiation (Coleman, et al., 2022), but even

when not undertaken, withdrawal of hormones in adulthood often is successful in

achieving fertility when it is desired (Light, et al., 2014; Knudson, et al., 2017).

      81.    Discussing the topic of fertility is important, and not specifically unique

to treatment of gender dysphoria. Medications used for other medical conditions,

such as chemotherapeutics used in cancer treatment, can affect fertility. For all

medications with potential impacts on fertility, the potential risks and benefits of


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both treatment and non-treatment should be reviewed and data regarding risk for

infertility clearly articulated prior to the consent or assent of the patient. Risk for

fertility changes must be balanced with the risk of withholding treatment.

       82.    Review of relevant medical literature clearly supports the benefits of

GnRHa treatment on both short-term and long-term psychological functioning and

quality of life (e.g., Achille, et al., 2020; Carmichael, et al., 2021; Costa, et al., 2015;

de Vries, et al., 2014; de Vries, et al., 2011; Kuper, et al., 2020; Turban, et al., 2020b;

van der Miesen, et al., 2020). For example, a 2014 long-term follow-up study

following patients from early adolescence through young adulthood showed that

gender-affirming treatment allowed transgender adolescents to make age-

appropriate developmental transitions while living as their affirmed gender with

positive outcomes as young adults (de Vries, et al., 2014).

       83.    In my own practice, adolescent patients struggling with significant

distress at the onset of puberty routinely have dramatic improvements in mood,

school performance, and quality of life with appropriate use of GnRHa. Side effects

encountered are similar to those seen in other patients treated with these medications

and easily managed.

       84.    Hormone therapy (testosterone or estrogen) is prescribed to older

adolescents with gender dysphoria. As is the case with GnRHa, the need for hormone


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therapy is not unique to transgender adolescents. Patients with conditions such as

delayed puberty, hypogonadism, Turner Syndrome, Klinefelter Syndrome, agonism,

premature ovarian failure, and disorders of sex development all require treatment

with these hormones, often times starting in adolescence and continuing lifelong.

Without testosterone or estrogen treatment, these patients would be unable to

progress through puberty normally, which would have serious medical and social

consequences. Whether used in adolescents to treat gender dysphoria, or to treat any

of these other conditions, testosterone and estrogen are prescribed with a goal to

raise the testosterone or estrogen level into the normal male or female range for the

patient’s age. Careful monitoring of blood levels and clinical progress are required.

Side effects are rare, but most often related to overtreatment, which can be

minimized with this monitoring. Additionally, side effects are considered, discussed,

and easily managed in all individuals needing hormone therapy regardless of the

diagnosis necessitating these medications.

      85.    Venous thromboembolism (blood clotting) is a known side effect of

estrogen therapy in all individuals placed on it including transgender women. Risk

is increased in old age, in patients with cancer, and in patients who smoke nicotine.

This side effect is mitigated by careful and accurate prescribing and monitoring. In

my career, no patient has suffered a thromboembolism while on estrogen therapy.


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      86.    Treatment of gender dysphoria with testosterone or estrogen is highly

beneficial for both short-term and long-term psychological functioning of

adolescents with gender dysphoria and withholding treatment from those who need

it is harmful (e.g., Achille, et al., 2020; Allen, et al., 2019; Chen, et al., 2023; de

Lara, et al., 2020; de Vries, et al., 2014; Grannis, et al., 2021; Green, et al., 2022;

Kaltiala, et al., 2020; Kuper, et al., 2020). To highlight examples, Green et al. (2022)

describe that gender-affirming hormone therapy is correlated with reduced rates of

depression and suicidality among transgender adolescents. Turban et al. (2022)

documented that access to gender-affirming hormone therapy in adolescence is

associated with favorable mental health outcomes in adulthood, when compared to

individuals who desired but could not access hormonal interventions.

      87.    I treat many patients with gender dysphoria GnRHa, testosterone, and

estrogen. Side effects related to these medications is very rare and can be treated

with dose adjustment and/or lifestyle changes.

      88.    The efficacy of hormone treatment in transgender adults is similarly

robust. At least 11 longitudinal studies document improvement in various mental

health parameters including depression, anxiety, self-confidence, body image and

self-image, general psychological functioning (e.g., Colizzi, et al., 2013; Colizzi, et

al., 2014; Corda, et al., 2016; Defreyne, et al., 2018; Fisher, et al., 2016; Heylens, et


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al., 2014; Keo-Meier, et al., 2015; Manieri, et al., 2014; Motta, et al., 2018; Oda, et

al., 2017; Turan, et al., 2018).

      89.        In sum, the use of GnRHa and hormones in adolescents, and hormones

in adults for the treatment of gender dysphoria is the current standard of care and

certainly not experimental. This is due to robust evidence of safety and efficacy. The

sum of the data supports the conclusion that treatment of gender dysphoria with these

interventions promotes wellness and helps to prevent negative mental health

outcomes, including suicidality in adolescent and adult age groups. The data to

support these interventions are so strong that withholding such interventions would

be negligent and unethical.

            G.      HARMS ASSOCIATED WITH PROHIBITING AND
                    DISCONTINUING TREATMENT

      90.        Prohibition of gender-affirming care, or coverage thereof, for

adolescents and adults is likely to have devastating consequences. I am concerned

that the Challenged Exclusion might lead to a staggering increase in mental health

problems including suicidality for transgender Floridians. One study which

highlights my concern is a study of over 21,000 patients who report ever desiring

gender-affirming hormone care. When comparing those who were able to access this

care to those desiring but never accessing care, those able to access care had lower

odds of suicidality within the past year. In addition, those individuals where were

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able to access care in adolescence had lower odds of suicidality compared to those

waiting to access until adulthood (Turban, et al., 2022).

      91.    Even more concerning is a situation where patients currently receiving

care and thriving would be forced to discontinue this care.

   III.     CONCLUSION

      92.    In summary, banning coverage of gender-affirming care runs counter

to evidence-based best practices and standards of care for the treatment of gender

dysphoria in adolescence and adulthood.

      93.    Gender dysphoria is a challenging condition, but it is treatable through

individualized assessment and treatment, which may include social transition,

psychotherapy, pubertal suppression, and hormonal therapy. These treatments are

not experimental and are supported by all major medical bodies in the field of

transgender medicine and pediatrics.

      94.    Lack of access to these treatments will result in worse outcomes for

countless individuals in Florida. Furthermore, banning coverage for evidence-based

treatment for gender dysphoria sends a message that transgender people are not valid

and should be stigmatized.

      95.    In my own clinical practice in Michigan, I have seen an influx of

patients from states banning medically proven treatments for gender dysphoria who


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report not feeling safe living in the community that they have always called home.

Adult patients, and parents who love and support their transgender children, have

described themselves as “refugees” in their own country, moving to avoid

discriminatory laws which they know would clearly harm their health or the health

of their child.

       96.    Banning coverage of effective treatment for gender dysphoria will not

eliminate transgender people, but will, unfortunately, lead to an increase in mental

health problems and suicidality in an already vulnerable population.



       I declare under penalty of perjury under the laws of the United States of

America that the foregoing is true and correct.

       Executed this 16th day of February 2023.




                                              Daniel Shumer, M.D.




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                               Exhibit A
                       Curriculum Vitae




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                           Daniel Shumer, MD MPH
            Clinical Associate Professor in Pediatrics - Endocrinology
                          Email: dshumer@umich.edu

EDUCATION AND TRAINING

Education

08/2000-08/2003 BA, Northwestern University, Evanston, United States

08/2004-05/2008 MD, Northwestern University, Feinberg School of Medicine,
                Chicago, United States

07/2013-05/2015 MPH, Harvard T.H. Chan School of Public Health, Boston,
                United States

Postdoctoral Training

                   Residency, Pediatrics, Vermont Children's Hospital at Fletcher
06/2008-06/2011
                   Allen Health Care, Burlington, VT

                   Chief Resident, Chief Resident, Vermont Children's Hospital
07/2011-06/2012
                   at Fletcher Allen Health Care, Burlington, VT

                   Clinical Fellow, Pediatric Endocrinology, Boston Children's
07/2012-06/2015
                   Hospital, Boston, MA

CERTIFICATION AND LICENSURE

Certification

10/2011-Present    American Board of Pediatrics, General

Licensure

                   Michigan, Medical License

                   Michigan, Controlled Substance

08/2015-Present    Michigan, Medical License


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09/2015-Present    Michigan, DEA Registration

09/2015-Present    Michigan, Controlled Substance

WORK EXPERIENCE

Academic Appointment

10/2015-9/2022     Clinical Assistant Professor in Pediatrics - Endocrinology,
                   University of Michigan - Ann Arbor, Ann Arbor

09/2022-Present    Clinical Associate Professor in Pediatrics - Endocrinology,
                   University of Michigan - Ann Arbor, Ann Arbor

Administrative Appointment

07/2019-Present    Fellowship Director - Pediatric Endocrinology, Michigan
                   Medicine, Department of Pediatrics, Ann Arbor

07/2020-Present    Medical Director of the University of Michigan
                   Comprehensive Gender Services Program, Michigan
                   Medicine, Ann Arbor
                   Oversee the provision of care to transgender and gender non-
                   conforming patients at Michigan Medicine.

07/2020-Present    Education Lead - Pediatric Endocrinology, University of
                   Michigan - Department of Pediatrics, Ann Arbor

Clinical Appointments

04/2022-05/2023 Medical Director in UMMG Faculty Benefits Appt.,
                University of Michigan - Ann Arbor, Ann Arbor

Private Practice

08/2013-09/2015 Staff Physician, Harvard Vanguard Medical Associates,
                Braintree




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RESEARCH INTERESTS

 • Gender dysphoria

 • Prader Willi Syndrome

CLINICAL INTERESTS

 • Gender dysphoria

 • Disorders of Sex Development

 • Prader Willi Syndrome

GRANTS

Past Grants

A Phase 2b/3 study to evaluate the safety, tolerability, and effects of Livoletide
(AZP-531), an unacylated ghrelin analog, on food-related behaviors in patients
with Prader-Willi syndrome
PI
Millendo Therapeutics
04/2019 - 04/2021

HONORS AND AWARDS

National

2014                Annual Pediatric Endocrine Society Essay Competition:
                    Ethical Dilemmas in Pediatric Endocrinology: competition
                    winner - The Role of Assent in the Treatment of Transgender
                    Adolescents

Institutional

2012 - 2015         Harvard Pediatric Health Services Research Fellowship;
                    funded my final two years of pediatric endocrine fellowship
                    and provided tuition support for my public health degree




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2016              The University of Michigan Distinguished Diversity Leaders
                  Award, awarded by The Office of Diversity, Equity and
                  Inclusion to the Child and Adolescent Gender Services Team
                  under my leadership

2019              Lecturer of the Month, Department of Pediatrics, Michigan
                  Medicine

TEACHING MENTORSHIP

Resident

07/2020-Present   Rebecca Warwick, Michigan Medicine (co-author on
                  publication #22)

Clinical Fellow

07/2017-06/2020 Adrian Araya, Michigan Medicine (co-author on publication
                #22, book chapter #4)

12/2020-Present   Jessica Jary, Michigan Medicine - Division of Adolescent
                  Medicine

Medical Student

09/2017-06/2020 Michael Ho, Michigan Medicine

07/2019-Present   Hadrian Kinnear, University of Michigan Medical School (co-
                  author on book chapter #3, abstract #3)

07/2019-Present   Jourdin Batchelor, University of Michigan

TEACHING ACTIVITY

Regional

08/2018-Present   Pediatric Boards Review Course sponsored by U-M: "Thyroid
                  Disorders and Diabetes". Ann Arbor, MI




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Institutional

12/2015-12/2015 Pediatric Grand Rounds: "Transgender Medicine - A Field in
                Transition". Michigan Medicine, Ann Arbor, MI

02/2016-02/2016 Medical Student Education: Panelist for M1 Class Session on
                LGBT Health, Doctoring Curriculum. Michigan Medicine,
                Ann Arbor, MI

02/2016-02/2016 Psychiatry Grand Rounds: "Transgender Medicine - A Field in
                Transition". Michigan Medicine, Ann Arbor, MI

03/2016-03/2017 Pharmacy School Education: "LGBT Health". University of
                Michigan School of Pharmacy, Ann Arbor, MI

04/2016-Present   Course Director: Medical Student (M4) Elective in
                  Transgender Medicine. Michigan Medicine, Ann Arbor, MI

04/2016-04/2016 Rheumatology Grand Rounds: "Gender Identity". Michigan
                Medicine, Ann Arbor, MI

05/2016-05/2016 Lecture to Pediatric Rheumatology Division: "Gender
                Dysphoria". Michigan Medicine, Ann Arbor, MI

07/2016-07/2016 Internal Medicine Resident Education: "Gender Identity".
                Michigan Medicine, Ann Arbor, MI

09/2016-09/2016 Presentation to ACU Leadership: "Gender Identity Cultural
                Competencies". Michigan Medicine, Ann Arbor, MI

10/2016-10/2016 Presentation to Department of Dermatology: "The iPledge
                Program and Transgender Patients". Michigan Medicine, Ann
                Arbor, MI

02/2017-02/2017 Swartz Rounds Presenter. Michigan Medicine, Ann Arbor, MI

02/2017-02/2017 Lecture to Division of General Medicine: "Transgender
                Health". Michigan Medicine, Ann Arbor, MI




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02/2017-02/2017 Presentation at Collaborative Office Rounds: "Transgender
                Health". Michigan Medicine, Ann Arbor, MI

10/2017-10/2017 Family Medicine Annual Conference: "Transgender
                Medicine". Michigan Medicine, Ann Arbor, MI

12/2017-12/2017 Presenter at Nursing Unit 12-West Annual Educational
                Retreat: "Gender Identity at the Children's Hospital". Michigan
                Medicine, Ann Arbor, MI

02/2018-Present   Pediatrics Residency Lecturer: "Puberty". Michigan Medicine,
                  Ann Arbor, MI

02/2019-Present   Medical Student (M1) Lecturer: "Pediatric Growth and
                  Development". Michigan Medicine, Ann Arbor, MI

02/2019-Present   Doctors of Tomorrow Preceptor: offering shadowing
                  opportunities to students from Cass Technical High School in
                  Detroit. Michigan Medicine, Ann Arbor, MI

03/2019-03/2019 Lecture to Division of Orthopedic Surgery: "Transgender
                Health". Michigan Medicine, Ann Arbor, MI

MEMBERSHIPS IN PROFESSIONAL SOCIETIES

2012 - Present    Pediatric Endocrine Society

COMMITTEE SERVICE

National

2014 - 2016       Pediatric Endocrine Society - Ethics Committee, Other,
                  Member

2017 - present    Pediatric Endocrine Society - Special Interest Group on
                  Gender Identity, Other, Member

2018 - present    Pediatric Endocrine Society - Program Directors Education
                  Committee, Other, Member




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Regional

2013 - 2015       Investigational Review Board - The Fenway Institute, Boston,
                  MA, Other, Voting Member

Institutional

2017 - 2019       Department of Pediatrics at Michigan Medicine; Diversity,
                  Equity, and Inclusion Committee, Other, Fellowship Lead

2017 - 2019       University of Michigan Transgender Research Group, Other,
                  Director

VOLUNTEER SERVICE

2014              Camp Physician, Massachusetts, Served at a camp for youth
                  with Type 1 Diabetes

SCHOLARLY ACTIVITIES

PRESENTATIONS

Extramural Invited Presentation Speaker

1. Grand Rounds, Shumer D, Loyola University School of Medicine, 07/2022,
Chicago, Illinois

Other

1. Gender Identity, Groton School, 04/2015, Groton, MA

2. Television Appearance: Gender Identity in Youth, Channel 7 WXYZ Detroit,
04/2016, Southfield, MI

3. It Gets Better: Promoting Safe and Supportive Healthcare Environments for
Sexual Minority and Gender Non-Conforming Youth, Adolescent Health
Initiative: Conference on Adolescent Health, 05/2016, Ypsilanti, MI

4. Gender Identity, Humanists of Southeast Michigan, 09/2016, Farmington
Hills, MI




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5. Gender Identity, Pine Rest Christian Mental Health Services, 10/2016, Grand
Rapids, MI

6. Pediatric Grand Rounds - Hormonal Management of Transgender Youth,
Beaumont Children's Hospital, 11/2016, Royal Oak, MI

7. Transgender Youth: A Field in Transition, Temple Beth Emeth, 11/2016, Ann
Arbor, MI

8. Transgender Youth: A Field in Transition, Washtenaw County Medical
Society, 11/2016, Ann Arbor, MI

9. Pediatric Grand Rounds: Transgender Youth - A Field in Transition, St. John
Hospital, 02/2017, Detroit, MI

10. Transgender Medicine, Veterans Administration - Ann Arbor Healthcare
System, 05/2017, Ann Arbor, MI

11. Gender Identity, Hegira Programs, 05/2017, Detroit, MI

12. Care of the Transgender Adolescent, Partners in Pediatric Care, 06/2017,
Traverse City, MI

13. Conference planner, host, and presenter: Transgender and Gender Non-
Conforming Youth: Best Practices for Mental Health Clinicians, Educators, &
School Staff; 200+ attendees from fields of mental health and education from
across Michigan, Michigan Medicine, 10/2017, Ypsilanti, MI

14. Endocrinology Grand Rounds: Transgender Medicine, Wayne State
University, 11/2017, Detroit, MI

15. Care of the Transgender Adolescent, St. John Hospital Conference:
Transgender Patients: Providing Compassionate, Affirmative and Evidence Based
Care, 11/2017, Grosse Pointe Farms, MI

16. Hormonal Care in Transgender Adolescents, Michigan State University
School of Osteopathic Medicine, 11/2017, East Lansing, MI

17. Working with Transgender and Gender Non-Conforming Youth, Michigan
Association of Osteopathic Family Physicians, 01/2018, Bellaire, MI


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18. Community Conversations, Lake Orion, 01/2018, Lake Orion, MI

19. "I Am Jazz" Reading and Discussion, St. James Episcopal Church, 03/2019,
Dexter, MI

20. Gender Identity, Michigan Organization on Adolescent Sexual Health,
10/2019, Brighton, MI; Port Huron, MI

21. Ask The Expert, Stand With Trans, 05/2020, Farmington Hills, MI (Virtual
due to COVID)

22. Transgender Medicine, Michigan Association of Clinical Endocrinologists
Annual Symposium, 10/2020, Grand Rapids, MI (Virtual due to COVID)

23. Transgender Youth in Primary Care, Michigan Child Care Collaborative
(MC3), 10/2020, Ann Arbor, MI (Virtual due to COVID)

24. Lets Talk About Hormones, Stand With Trans, 10/2020, Farmington Hills,
MI (Virtual due to COVID)

25. Gender Identity, Universalist Unitarian Church of East Liberty, 04/2021,
Virtual due to COVID

26. Unconscious Bias, Ascension St. John Hospital, 05/2021, Virtual due to
COVID

PUBLICATIONS/SCHOLARSHIP

Peer-Reviewed Articles

1. Vengalil N, Shumer D, Wang F: Developing an LGBT curriculum and
evaluating its impact on dermatology residents, Int J Dermatol.61: 99-102,
01/2022. PM34416015

Chapters

1. Shumer: Coma. In Schwartz MW6, Lippincott Williams & Wilkins,
Philadelphia, PA, (2012)

2. Shumer, Spack: Medical Treatment of the Adolescent Transgender Patient. In
Đorđević M; Monstrey SJ; Salgado CJ Eds. CRC Press/Taylor & Francis, (2016)


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3. Kinnear HA, Shumer DE: Duration of Pubertal Suppression and Initiation of
Gender-Affirming Hormone Treatment in Youth. In FinlaysonElsevier, (2018)

4. Araya, Shumer DE: Endocrinology of Transgender Care – Children and
Adolescents. In Poretsky; Hembree Ed. Springer, (2019)

Non-Peer Reviewed Articles

1. Shumer D: The Effect of Race and Gender Labels in the Induction of Traits,
Northwestern Journal of Race and Gender Criticism.NA01/2014

2. Shumer D: A Tribute to Medical Stereotypes, The Pharos, Journal of the
Alpha Omega Alpha Medical Society.Summer07/2017

3. Mohnach L, Mazzola S, Shumer D, Berman DR: Prenatal diagnosis of 17-
hydroxylase/17,20-lyase deficiency (17OHD) in a case of 46,XY sex discordance
and low maternal serum estriol, Case Reports in Perinatal Medicine.8(1)01/2018

4. Mohnach L, Mazzola S, Shumer D, Berman DR: Prenatal Diagnosis of 17-
hydroxylase/17,20-lyase deficiency (17OHD) in a case of 46,XY sex discordance
and low maternal serum estriol, Case Reports in Perinatal Medicine.8(1)12/2018

5. Kim C, Harrall KK, Glueck DH, Shumer DE, Dabelea D: Childhood
adiposity and adolescent sex steroids in the EPOCH (Exploring Perinatal
Outcomes among Children) study, Clin Endocrinol (Oxf).91(4): 525-533,
01/2019. PM31278867

6. Araya A, Shumer D, Warwick R, Selkie E: 37. “I’ve Been Happily Dating
For 5 Years” - Romantic and Sexual Health, Experience and Expectations in
Transgender Youth, Journal of Adolescent Health.66(2): s20, 02/2020

7. Araya A, Shumer D, Warwick R, Selkie E: 73. "I think sex is different for
everybody" - Sexual Experiences and Expectations in Transgender Youth, Journal
of Pediatric and Adolescent Gynecology.33(2): 209-210, 04/2020

8. Araya AC, Warwick R, Shumer D, Selkie E, Rath T, Ibrahim M, Srinivasan
A: Romantic Health in Transgender Adolescents, Pediatrics.Pediatrics01/2021

9. Martin S, Sandberg ES, Shumer DE: Criminalization of Gender-Affirming
Care - Interfering with Essential Treatment for Transgender Children and


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PM34010528

Editorial Comment

1. Shumer DE, Harris LH, Opipari VP: The Effect of Lesbian, Gay, Bisexual,
and Transgender-Related Legislation on Children, 01/2016. PM27575000

2. Shumer DE: Health Disparities Facing Transgender and Gender
Nonconforming Youth Are Not Inevitable, 01/2018. PM29437859

3. Martin S, Sandberg ES, Shumer DE: Criminalization of Gender-Affirming
Care - Interfering with Essential Treatment for Transgender Children and
Adolescents, 01/2021

Erratum

1. Tishelman AC, Kaufman R, Edwards-Leeper L, Mandel FH, Shumer DE,
Spack NP: Correction to Serving Transgender Youth: Challenges, Dilemmas, and
Clinical Examples, [Professional Psychology: Research and Practice, 46(1),
(2015) 37-45], Professional Psychology: Research and Practice.46(4): 249,
08/2015

Journal Articles

1. Shumer DE, Thaker V, Taylor GA, Wassner AJ: Severe hypercalcaemia due
to subcutaneous fat necrosis: Presentation, management and complications,
Archives of Disease in Childhood: Fetal and Neonatal Edition.99(5)01/2014.
PM24907163

2. Tishelman AC, Kaufman R, Edwards-Leeper L, Mandel FH, Shumer DE,
Spack NP: Serving transgender youth: Challenges, dilemmas, and clinical
examples, Professional Psychology: Research and Practice.46(1): 37-45,
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3. Reisner SL, Vetters R, Leclerc M, Zaslow S, Wolfrum S, Shumer DE,
Mimiaga MJ: Mental health of transgender youth in care at an adolescent Urban
community health center: A matched retrospective cohort study, Journal of
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4. Shumer DE, Tishelman AC: The Role of Assent in the Treatment of
Transgender Adolescents, International Journal of Transgenderism.16(2): 97-102,
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5. Shumer DE, Roberts AL, Reisner SL, Lyall K, Austin SB: Brief Report:
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Nonconformity, Journal of Autism and Developmental Disorders.45(5): 1489-
1494, 05/2015. PM25358249

6. Tishelman AC, Kaufman R, Edwards-Leeper L, Mandel FH, Shumer DE,
Spack NP: Reply to comment on "serving transgender youth: Challenges,
dilemmas, and clinical examples" by Tishelman et al. (2015), Professional
Psychology: Research and Practice.46(4): 307, 08/2015. PM26858509

7. Shumer DE, Reisner SL, Edwards-Leeper L, Tishelman A: Evaluation of
Asperger Syndrome in Youth Presenting to a Gender Dysphoria Clinic, LGBT
Health.3(5): 387-390, 10/2016. PM26651183

8. Tishelman AC, Shumer DE, Nahata L: Disorders of sex development:
Pediatric psychology and the genital exam, Journal of Pediatric Psychology.42(5):
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9. Edwards-Leeper L, Shumer DE, Feldman HA, Lash BR, Tishelman AC:
Psychological profile of the first sample of transgender youth presenting for
medical intervention in a U.S. pediatric gender center, Psychology of Sexual
Orientation and Gender Diversity.4(3): 374-382, 01/2017

10. Shumer DE, Abrha A, Feldman HA, Carswell J: Overrepresentation of
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Health.2(1): 76-79, 07/2017. PM28861549

11. Strang JF, Meagher H, Kenworthy L, de Vries AL C, Menvielle E,
Leibowitz S, Janssen A, Cohen-Kettenis P, Shumer DE, Edwards-Leeper L,
Pleak RR, Spack N, Karasic DH, Schreier H, Balleur A, Tishelman A, Ehrensaft
D, Rodnan L, Kuschner ES, Mandel F, Caretto A, Lewis HC, Anthony LG: Initial
Clinical Guidelines for Co-Occurring Autism Spectrum Disorder and Gender
Dysphoria or Incongruence in Adolescents, Journal of Clinical Child and
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12. Selkie E, Adkins V, Masters E, Bajpai A, Shumer DE: Transgender
Adolescents' Uses of Social Media for Social Support, Journal of Adolescent
Health.66(3): 275-280, 03/2020. PM31690534

13. Warwick RM, Shumer DE: Gender-affirming multidisciplinary care for
transgender and non-binary children and adolescents, Children's Health
Care.01/2021

14. Araya AC, Warwick R, Shumer DE, Selkie E: Romantic relationships in
transgender adolescents: A qualitative study, Pediatrics.147(2)02/2021.
PM33468600

15. Warwick RM, Araya AC, Shumer DE, Selkie EM: Transgender Youths’
Sexual Health and Education: A Qualitative Analysis, Journal of Pediatric and
Adolescent Gynecology.35(2): 138-146, 04/2022. PM34619356

Letters

1. Strang JF, Janssen A, Tishelman A, Leibowitz SF, Kenworthy L, McGuire
JK, Edwards-Leeper L, Mazefsky CA, Rofey D, Bascom J, Caplan R, Gomez-
Lobo V, Berg D, Zaks Z, Wallace GL, Wimms H, Pine-Twaddell E, Shumer DE,
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Rates of Autism in Studies of Gender Diverse Individuals, Journal of the
American Academy of Child and Adolescent Psychiatry.57(11): 885-887, 11/2018.
PM30392631

Letters to editor

1.     Shumer DE: Doctor as environmental steward, 01/2009. PM19364173

Notes

1. Shumer DE, Mehringer J, Braverman L, Dauber A: Acquired
hypothyroidism in an infant related to excessive maternal iodine intake: Food for
thought, Endocrine Practice.19(4): 729-731, 07/2013. PM23512394

Podcasts

1. Gaggino L, Shumer WG D: Pediatric Meltdown: Caring for Transgender
Youth with Compassion: What Pediatricians Must Know, 01/2020


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Reviews

1. Shumer DE, Spack NP: Current management of gender identity disorder in
childhood and adolescence: Guidelines, barriers and areas of controversy, Current
Opinion in Endocrinology, Diabetes and Obesity.20(1): 69-73, 02/2013.
PM23221495

2. Guss C, Shumer DE, Katz-Wise SL: Transgender and gender
nonconforming adolescent care: Psychosocial and medical considerations, Current
Opinion in Pediatrics.27(4): 421-426, 08/2015. PM26087416

3. Shumer DE, Nokoff NJ, Spack NP: Advances in the Care of Transgender
Children and Adolescents, Advances in Pediatrics.63(1): 79-102, 08/2016.
PM27426896

Short Surveys

1. Shumer DE, Spack NP: Transgender medicine-long-term outcomes from 'the
Dutch model', Nature Reviews Urology.12(1): 12-13, 01/2015. PM25403246

Abstracts/Posters

1. Shumer D, Kinnear H, McLain K, Morgan H: Development of a Transgender
Medicine Elective for 4th Year Medical Students, National Transgender Health
Summitt, Oakland, CA, 2017

2. Shumer D: Overrepresentation of Adopted Children in a Hospital Based
Gender Program, World Professional Association of Transgender Health Biennial
International Symposium, Amsterdam, The Netherlands, 2016

3. Shumer D: Mental Health Presentation of Transgender Youth Seeking
Medical Intervention, World Professional Association of Transgender Health
Biennial International Symposium, Amsterdam, The Netherlands, 2016

4. Adkins V, Masters E, Shumer D, Selkie E: Exploring Transgender
Adolescents' Use of Social Media for Support and Health Information Seeking
(Poster Presentation), Pediatric Research Symposium, Ann Arbor, MI, 2017




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                               Exhibit B
                           Bibliography




EXPERT REPORT OF DR. DANIEL SHUMER
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